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   ATTORNEYS FOR DEFENDANT
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 8                               IN THE UNITED STATES DISTRICT COURT

 9                                  EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                           CASE NO. 2:16-CR-00199 GEB

12                                 Plaintiff,
                                                         STIPULATION CONTINUING STATUS
13                          v.                           CONFERENCE AND PROPOSED FINDINGS
                                                         REGARDING EXCLUDABLE TIME PERIODS
14                                                       UNDER SPEEDY TRIAL ACT; [PROPOSED]
                                                         FINDINGS AND ORDER
15
                                                         DATE: JANUARY 18, 2019
16
     KIONI DOGAN, ET AL,,                                TIME: 9:00 A.M.
17                                 Defendants.
                                                         JUDGE: HON. GARLAND E. BURRELL JR.
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            IT IS HEREBY STIPULATED by and between the defendants, Kioni Dogan, Gloria Harris, and
25
     Lavonda Bailey, by and through their undersigned defense counsel, and the United States of America,
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     by and through its counsel, Christopher Hales, Assistant United States Attorney, that the status
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     conference currently set for January 18, 2019 should be continued until February 8, 2019, and to exclude
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               Case 2:16-cr-00199-JAM Document 73 Filed 01/17/19 Page 2 of 3


 1 time between November 16, 2018 and January 18, 2019, under Local Code T4. The parties agree and

 2 stipulate, and request that the Court find the following:

 3          1. The government has provided discovery associated with this case, which is voluminous - i.e.

 4 approximately 14,000 pages, plus media materials, to defense counsel. Both counsel for Dogan and

 5 Harris were substituted in for original counsel and have not been counsel of record the entire time since

 6 the indictment and thus have had more limited time to prepare.

 7          2. Given the volume of discovery, defense counsel for defendants require additional time to

 8 review the discovery in this matter, to consult with their respective clients and to conduct any necessary

 9 investigation and research related to the charges, to evaluate possible settlement, and to otherwise

10 prepare for trial.

11          3. Additionally, the parties are conducting plea negotiations which have been delayed because

12 counsel for defendant Harris is currently in trial.

13          4. Counsel for defendants believes that failure to grant the above-requested continuance would

14 deny counsel the reasonable time necessary for effective preparation, taking into account the exercise of

15 due diligence.

16          5. The government is unopposed to the requested continuance.

17          6. Based on the above-stated findings, the ends of justice served by continuing the case as

18 requested outweigh the interest of the public and the defendant in a trial within the original date

19 prescribed by the Speedy Trial Act.

20          7. For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. 3161, et seq., within

21 which trial must commence, the time period of appearance January 18 2019 to February 8, 2019,

22 inclusive, is deemed excludable pursuant to 18 U.S.C. section 3161(h)(7)(A), B(iv)[Local Code T4]

23 because it results from a continuance granted by the Court at counsel’s request on the basis of the

24 Court’s finding that the ends of justice served by taking such action outweigh the interest of the public

25 and the defendant in a speedy trial. 8. Nothing in this stipulation and order shall preclude a finding that

26 other provisions of the Speedy Trial Act dictate that additional time periods are excludable from the
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              Case 2:16-cr-00199-JAM Document 73 Filed 01/17/19 Page 3 of 3


 1 period within which a trial must commence.

 2          IT IS SO STIPULATED.                         Respectfully submitted,

 3 Dated: January 15, 2019                               /s/ Robert M. Wilson
                                                         ROBERT M. WILSON
 4                                                       Attorney for Lavonda Bailey
 5
     Dated: January 15, 2019                             /s/ Robert M. Wilson
 6                                                        For CHRISTOPHER HALES
                                                         Assistant U.S. Attorney
 7                                                       Attorneyfor the United States
 8 Dated: January 15, 2019                               /s/ Robert M. Wilson
                                                          For HAYES GABLE III
 9
                                                         Attorney for Kioni Dogan
10
     Dated: January 15, 2019                             /s/ Robert M. Wilson
11                                                       For Steven B. Plessar
                                                         Attorney for Gloria Harris
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13                                               IT IS SO ORDERED.
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            Good cause appearing, the status conference presently set for January 18, 2019, at 9:30 A.M., is
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     continued to February 8, 2019, at 9:30 A.M.. Time is excluded pursuant to the Speedy Trial Act and
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     Local Code from January 18, 2019 to February 8, 2019 based on the stipulations set forth above by the
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19 parties and adopted by the Court.

20          Dated: January 17, 2019

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